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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                     NO. 4:08CR00139-006 SWW

RICKY CARPER



                                   ORDER

      Defendant appeared for a hearing before this Court on July 24,

2009, and entered a plea of guilty to Count 1 of the indictment at

which time, counsel for the defendant requested that the defendant be

allowed to remain on bond pending sentencing.       After arguments of

defense counsel and no objection by the government, the Court found

that there are exceptional circumstances, pursuant to 18 U.S.C. §3145,

to allow defendant to remain on    conditions of release and that such

conditions should be modified.

      IT IS THEREFORE ORDERED that defendant’s conditions of release

shall be modified to include a special condition of home detention

with electronic monitoring.    The cost of such monitoring shall be paid

by the United States Probation Office.

      IT IS SO ORDERED this 28th day of July 2009.




                                           /s/Susan Webber Wright

                                           UNITED STATES DISTRICT JUDGE
